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                      UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF NEW YORK
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IN RE: TERRORIST ATTACKS ON          )  Civil Action No. 03 MDL 1570 (GBD)
SEPTEMBER 11, 2001                   )  ECF Case
____________________________________ )

This document relates to:

   Federal Insurance Co., et al. v. al Qaida, et al., No. 03-cv-6978
   Vigilant Insurance Co., et al. v. Kingdom of Saudi Arabia, et al., No. 03-cv-8591
   Thomas Burnett, Sr., et al. v. Al Baraka Inv. & Dev. Corp., et al., No. 03-cv-9849
   Estate of John P. O’Neill, Sr., et al. v. Kingdom of Saudi Arabia, et al., No. 04-cv-1922
   Continental Casualty Co., et al. v. Al Qaeda, et al., No. 04-cv-5970
   Cantor Fitzgerald Assocs., et al. v. Akida Inv. Co., et al., No. 04-cv-7065
   Pacific Employers Insurance Co., et al. v. Kingdom of Saudi Arabia, et al.,
   No. 04-cv-7216
   Euro Brokers Inc., et al. v. Al Baraka Inv. & Dev. Corp., et al., No. 04-cv-7279
   Beazley Furlonge Ltd. v. Saudi Binladin Group, Inc., et al., No. 16-cv-7456
   Bowrosen, et al. v. Kingdom of Saudi Arabia, No. 16-cv-8070
   McCarthy, et al. v. Kingdom of Saudi Arabia, No. 16-cv-8884
   Aguilar, et al. v. Kingdom of Saudi Arabia, et al., No. 16-cv-9663
   Addesso, et al. v. Kingdom of Saudi Arabia, et al., No. 16-cv-9937
   Hodges, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-117
   DeSimone v. Kingdom of Saudi Arabia, No. 17-cv-348
   Aiken, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-450
   Ashton, et al. v. Kingdom of Saudi Arabia, No. 17-cv-2003
   The Underwriting Members of Lloyd’s Syndicate 53, et al. v. Kingdom of Saudi Arabia,
   et al., No. 17-cv-2129
   The Charter Oak Fire Insurance Co., et al. v. Al Rajhi Bank, et al., No. 17-cv-2651
   General Reinsurance Corp., et al. v. Kingdom of Saudi Arabia, No. 17-cv-3810
   Abarca, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-3887
   Arrowood Indemnity Co. v. Kingdom of Saudi Arabia, et al., No. 17-cv-3908
   Abrams, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-4201
   Abtello, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-5174
   Aasheim, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-5471
   Abedhajajreh, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-6123
   Allianz Versicherungs-Aktiengesellschaft, et al. v. Kingdom of Saudi Arabia,
   No. 17-cv-6519
   Fraser, et al. v. Al Qaeda Islamic Army, et al., No. 17-cv-7317
   Muenchener Rueckversicherungs-Gesellschaft Aktiengesellschaft in Muenchen, et al. v.
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   Kingdom of Saudi Arabia, et al., No. 17-cv-7914
   Abbate, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-8617
   Abarca, et al. v. Kingdom of Saudi Arabia et al., No. 18-cv-947
   Behette, et al. v. Kingdom of Saudi Arabia et al., No. 18-cv-538
   Dillaber, et al. v. Islamic Republic Of Iran et al., No. 18-cv-3162
   Leftt et al. v. Kingdom of Saudi Arabia et al., No. 18-cv-03353


             [PROPOSED] ORDER GRANTING PRO HAC VICE ADMISSION

       The motion of Daniel V. Dorris for admission to practice Pro Hac Vice in the above-

captioned litigation and individual cases is granted.

       Daniel V. Dorris has declared that he is a member in good standing of the bars of the

District of Columbia and the State of Illinois; and that his contact information is as follows:

                       Daniel V. Dorris
                       Kellogg, Hansen, Todd, Figel & Frederick, P.L.L.C.
                       1615 M Street, NW, Suite 400
                       Washington, DC 20036
                       Tel.: 202-326-7938 / Fax: 202-326-7999
                       ddorris@kellogghansen.com

       Daniel V. Dorris having requested admission Pro Hac Vice to appear for all purposes as

counsel for the defendant The Kingdom of Saudi Arabia in the above-captioned litigation and

individual cases;

       IT IS HEREBY ORDERED that Daniel V. Dorris is admitted to practice Pro Hac Vice

in the above-captioned litigation and individual cases in the United States District Court for the

Southern District of New York. All attorneys appearing before this Court are subject to the

Local Rules of this Court, including the Rules governing discipline of attorneys.


Dated: _________________                                ____________________________________
                                                        SARAH NETBURN
                                                        UNITED STATES MAGISTRATE JUDGE



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